                      Case 2:10-cv-00423-JCM-GWF Document 24 Filed 12/01/10 Page 1 of 1



                  1
                  2
                  3
                  4
                                                    UNITED STATES DISTRICT COURT
                  5
                                                         DISTRICT OF NEVADA
                  6
                                                                      2:10-CV-423 JCM (PAL)
                  7     VEGAS SERENO, LLC,

                  8                    Plaintiff,
                  9     v.
                10
                        PATRICK HIGGINS, et al.,
                11
                                       Defendants.
                12
                13                                                 ORDER
                14           Whereas the November 24, 2010, order of default judgment (doc. #23) is superfluous in light
                15    of this court’s having already granted plaintiff’s motion for default judgment (doc. #20),
                16           And whereas this court has notified counsel that an appropriate judgment order should be
                17    prepared following resolution of the pending issue regarding attorney’s fees and costs,
                18           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the November 24, 2010,
                19    order of default judgment in favor of Vegas Sereno, LCC, against Luis Orozco Madrid and Richard
                20    Thomas Habib (doc. #23) is hereby VACATED.
                21           DATED December 1, 2010.
                22
                23
                                                            UNITED STATES DISTRICT JUDGE
                24
                25
                26
                27
                28
James C. Mahan
U.S. District Judge
